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                 UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF MAINE
 _____________________________________
                                        )
 BRETT BABER, et al.                    )
                                        )
                   Plaintiffs,          )
                                        )
 v.                                     ) Case No. 1:18-cv-00465-LEW
                                        )
 MATTHEW DUNLAP, Secretary of the       ) EMERGENCY INJUNCTIVE
 State of Maine.                        ) RELIEF SOUGHT
                                        )
                                        )
                   Defendant.           )
 _____________________________________ )


        PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       PLAINTIFFS REQUEST A HEARING ON WEDNESDAY, NOVEMBER 14, 2018,

AT 9:00 A.M., OR AS SOON THEREAFTER AS THIS MOTION MAY BE HEARD BY

THE COURT.

       Plaintiffs Brett Baber, Terry Hamm-Morris, Mary Hartt, and Bruce Poliquin, by and

through counsel, hereby move this Court on an emergency basis, pursuant to Fed. R. Civ. P.

65(b)(1), for a temporary restraining order preventing the Defendant, and all persons under his

direction, supervision, or control, from enforcing or applying Maine’s Ranked Choice Voting Act

(the “RCV Act”) to determine the winner of the November 6, 2018 general election for U.S.

Representative from Maine’s Second Congressional District. Specifically, Plaintiffs request that

the Defendant temporarily be ordered to: (1) discontinue the counting of votes, (2) halt the

tabulation of the results of any such count, and (3) refrain from certifying a winner of the election,

until a hearing on Plaintiffs’ request for a preliminary injunction can be held.
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       Plaintiffs are citizen voters and a candidate for federal office who cast ballots in the

November 6, 2018 election for the U.S. House of Representatives in Maine’s Second

Congressional District, which was administered under the RCV Act. Earlier today, Plaintiffs filed

suit asking this court to enjoin the RCV Act based on federal constitutional and statutory claims.

Specifically, Plaintiffs allege that the RCV Act violates Article I, § 2 of the United States

Constitution, which sets a plurality vote as the qualification for election to the U.S. House of

Representatives, by changing the substantive qualification to an absolute majority vote. Plaintiffs

also allege that the RCV Act denies them and other Maine voters of the right to vote effectively

and to vote for candidates of their own choice in violation of the First and Fourteenth Amendments

to the U.S. Constitution and the Voting Rights Act.

       Defendant, through counsel, was served with notice of this suit. Instead of halting the

tabulation, however, the Secretary of State continues to count votes under the RCV Act and plans

to certify a winner of the election based on operation of the Act. While the specific timeframe for

completing the count is not certain, it is likely that the tabulation will be completed before a hearing

on the preliminary injunction can be held. Thus, immediate relief is needed to preserve the status

quo.

       In “considering a request for a temporary restraining order, the court must determine:

“(1) the movant's likelihood of success on the merits; (2) whether and to what extent the movant

would suffer irreparable harm if the request were rejected; (3) the balance of hardships between

the parties; and (4) any effect that the injunction or its denial would have on the public interest.”

Toddle Inn Franchising, LLC v. KPJ Assocs. LLC, No. 2:18-CV-00293, 2018 WL 3676826, at *2

(D. Me. Aug. 2, 2018); see also Arborjet, Inc. v. Rainbow Treecare Sci. Advancements, Inc., 794

F.3d 168, 171 (1st Cir. 2015).
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        As elaborated more fully in Plaintiffs’ Motion for Preliminary Injunction, Plaintiffs meet

this standard. Plaintiffs are entitled to immediate relief to preserve the status quo because:

(1) Maine may not alter the U.S. Constitution’s substantive qualification to serve as a member of

the U.S. House of Representatives; (2) the RCV Act violates the Voting Rights Act and the State

has no compelling interest for burdening the constitutional right to vote by enforcing the RCV Act;

(3) Plaintiffs will face irreparable harm to their constitutional right to vote if the Secretary proceeds

with additional rounds of vote counting in a virtual runoff election; (4) a temporary restraining

order will impose no additional burden on the Secretary; and (5) the protection of Plaintiffs’

constitutional right to vote is in the public interest.

        In accordance with F.R. Civ. P. 65(b)(1), undersigned counsel certify that notice has been

given to the attorneys for Defendant Dunlap as well as to the attorneys for Intervenor Defendant

Golden, to wit: a letter was sent to the Assistant Attorney General who represents Defendant

Dunlap by email and regular mail earlier this morning, providing a courtesy copy of the Complaint,

Motion for Preliminary Injunction, and associated filings, and further requesting that Defendant

cease further counting and tabulation of the ballots. On information and belief, and

notwithstanding that request to cease processing the ballots, Defendant has continued same.

Additionally, undersigned counsel certify that they informed the attorneys for Defendant Dunlap

and for Intervenor Defendant Golden this afternoon that, given the continued counting and

tabulation of ballots, Plaintiffs would be filing a Motion for Temporary Restraining Order on the

afternoon of November 13, 2018. Plaintiffs respectfully submit that they will suffer immediate

and irreparable harm if the Court does not hear and address this issue on an expedited basis, as set

forth in the attached Affidavit, given the continued counting and tabulation of the ballots and the

anticipated forthcoming certification of the result.
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       Additionally, and in accordance with F.R. Civ. P. 65(b)(1), this Motion is supported by the

Affidavit of Brett Baber, which is attached as Exhibit A.

       For the above-stated reasons, Plaintiffs request that the Court enter a temporary restraining

order to immediately halt the counting and tabulation of votes under the RCV Act and to prevent

Maine’s RCV Act from being used to determine the winner of the November 6, 2018 general

election for U.S. Representative from Maine’s Second Congressional District until such time as

the Court can more fully consider the parties’ legal arguments and hold a hearing on Plaintiffs’

request for a preliminary injunction. Plaintiffs, again, respectfully request to be heard on

Wednesday, November 14, 2018, at 9:00 a.m., or as soon thereafter as the Court may

accommodate.

DATED: November 13, 2018                             Respectfully submitted,


                                                     /s/ Lee E. Goodman

                                                     Lee E. Goodman (pro hac vice pending)
                                                     Andrew G. Woodson (pro hac vice pending)
                                                     Eric Wang (pro hac vice pending)
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                                        /s/ Joshua A. Tardy_____________
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                                        Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 13, 2018, I electronically filed the foregoing document

entitled Plaintiffs’ Motion for a Temporary Restraining Order and supporting documents via the

Court’s CM/ECF system, which will serve a copy of same upon all counsel of record.



DATED: November 13, 2018



                                                           /s/ Joshua A. Randlett
                                                           Joshua A. Randlett, Esq.
